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IN THE UNITED sTATES DISTRICT COURT0 4 "Y'--D.c.
FOR THE WESTERN DISTRICT 0F TENNESSE]§ UG l 2 PH 3, 29

EASTERN DIVISION rt
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JEFFREY B. PULLEY AND LEIGH f ~».»» i.-\_ digqu

BRIDGES, individually, AND THE
ESTATE OF JAMES ODIE PULLEY,

by personal representative, LEIGI-I
BRIDGES,

Plaintiffs,
NO. 05-1135-T-An

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JOE SHEPARD, GIBSON COUNTY )
SHERIFF, CHUCK ARNOLD, CHIEF )
DEPUTY OF GIBSON COUNTY )
SHERIFF’S DEPARTMENT, KENNETH )
SlMS, DEPUTY OF GIBSON COUNTY )
SHERIFF’S DEPARTMENT, SHERRY )
SMITH, CHIEF JAILER OF GIBSON )
COUNTY SHERIFF’S DEPARTMENT, )
LARRY COMBS, DEPUTY OF GIBSON )
COUNTY SHERIFF’S DEPARTMENT, )
JOHN AND JANE DOE, GIBSON )
COUNTY SHERIFF’S DEPARTMENT, )
AND GIBSON COUNTY, TENNESSEE, )
)

)

Defendants.

 

ORDER GRANTING DEFENDANT’S MOTION TO DISMISS

 

The plaintiffs filed this action against Defendants Joe Shepard, Sherit`f of Gibson

County, Chuck Arnold, Chief Deputy of Gibson County Sherifi`s Department, Kenneth

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with ama 58 and:or,?g (a) FHCP on ___QS'§.’.}§~,.'M\, .. \_“_ @

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Sirns, Deputy of Gibson County Sheriff` s Department, Sherry Smith, Chief Jailer of
Gibson County Sheriff`s Department, Larry Combs, Deputy of Gibson County Sheriff`s
Department, John and lane Doe, Gibson County Sheriff`s Department, and Gibson
County. Before the court is defendants’ motion to dismiss all claims against the Gibson
County Sheriff`s Department. Plaintiff has not filed a response to defendants’ motion to
dismiss.

Defendant seeks dismissal of plaintiffs claims against the Gibson County
Sherifi`s Departrnent because it is not a proper party to this suit. Both the Sixth Circuit
and this court have held that police departments are not legal entities Which may be Sued.
See Matthews v. Jones, 35 F.3d 1046, 1049 (6th Cir. 1994); Phebus v. Citv of Memphis,
340 F. Supp. 2d 874, 878 (W.D. Tenn. 2004). Therefore, the court GRANTS the motion
to dismiss the Gibson County Sheriff`s Department as a defendant

IT IS SO ORDERED.

Z).M

JAM D. TODD
UNI D STATES DISTRICT JUDGE

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DATE

 

UNITSTED`ATES DISTRICT C URT - WESTENR D"ISRICT oF TNNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 4 in
case 1:05-CV-01135 Was distributed by faX, mail, or direct printing on
August 15, 2005 to the parties listed.

 

 

J ames I. Pentecost

PENTECOST GLENN & RUDD, PLLC
106 Stonebridge Blvd.

Jacl<son7 TN 38305

Benjamin S. Dempsey

LAW OFFICES OF BENJAMIN S. DEMPSEY
P.O. Box 71 1

Huntingdon, TN 38344

Honorable J ames Todd
US DISTRICT COURT

